           Case 1:20-cv-06463-ALC Document 16 Filed 11/02/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------- x
MERCER,                                                          :
                                                                 :                     11/2/2020
                                            Plaintiff,
                                                                 :
                                                                 :
                                                                 :
                 v.                                                     20-cv-06463 (ALC)
                                                                 :
                                                                 :      ORDER
250 MAIN STREET, LLC,
                                                                 :
                                                                 :
                                                                 :
                                            Defendant.
                                                                  :
----------------------------------------------------------------- : x

ANDREW L. CARTER, JR., District Judge:

         The Parties’ Request for Extension of Time, ECF No. 11, is hereby DENIED as moot in

light of Plaintiff’s Notice of Voluntary Dismissal, ECF No. 12.

SO ORDERED.
Dated: November 2, 2020
         New York, New York



                                                                        ANDREW L. CARTER, JR.
                                                                        United States District Judge
